

People v Charles (2023 NY Slip Op 00494)





People v Charles


2023 NY Slip Op 00494


Decided on February 02, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2023

Before: Kapnick, J.P., Friedman, Gesmer, Moulton, Mendez, JJ. 


SCI No. 2036/01 Appeal No. 17229 Case No. 2020-04091 

[*1]The People of the State of New York, Respondent,
vCairon Charles, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jan Hoth of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah Chamoy of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about September 25, 2020, which, to the extent appealed from, denied defendant's Correction Law § 168—o(2) petition to modify his sex offender classification to risk level one, unanimously affirmed, without costs.
The court providently exercised its discretion in modifying defendant's level three classification to level two but denying a further modification to level one. We have considered all the mitigating factors cited by defendant and find that, when viewed in light of aggravating factors including the seriousness of the underlying sex crime, the totality of mitigating factors only warrants a modification to risk level two on the present record (see People v Johnson, 124 AD3d 495, 496 [1st Dept 2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2023








